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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                              CRIMINAL

 VERSUS                                                                NO. 22-79

 MORRIS SUMMERS                                                        SECTION: MAG


          ORDER PURSUANT TO THE DUE PROCESS PROTECTIONS ACT

       Pursuant to the Due Process Protections Act, the Court confirms the United States'

obligation to produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland,

373 U.S. 83 (1963) and its progeny, and hereby orders it to do so. Failing to do so in a timely

manner may result in consequences, including, but not limited to, exclusion of evidence, adverse

jury instructions, dismissal of charges, contempt proceedings, and/or sanctions by the Court.

       New Orleans, Louisiana this ~ d a y of               July     2022.




                          UNITED STATES MAGISTRATE JUDGE
